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                       UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA

  MICHAEL LARUE HYDE & CIVIL ACTION
  SAMANTHA JO HYDE (nee
  GORDON), IN THE INTEREST OF
  BLH & BLH

  VERSUS

  STATE OF LOUISIANA NO. 23-00172-BAJ-EWD
  DEPARTMENT OF CHILDREN &
  FAMILY SERVICES, ET AL.

                               RULING AND ORDER

       Plaintiffs, who are representing themselves, are parents seeking to regain


custody of their children from the State. (See Doc. 1 at pp. 1-2). On March 7, 2023,


they filed this suit using the Court s Petition for a Writ of Habeas Corpus form. (See

id.). In addition to challenging the state court custody proceeding (which seems to be

ongoing), Plaintiffs also appear to assert various constitutional claims stemming from


events antecedent to the custody proceeding. (See Doc. 1 at pp. 5-8). The Magistrate


Judge has now issued a Report and Recommendation (Doc. 4, the "R&R")


recommending that Plaintiffs' habeas claims seeking to overturn a state court child


custody decision be dismissed without prejudice for lack of subject matter jurisdiction.

(See Doc. 4 at p. 10). The R&R further recommends that Plaintiffs' constitutional

claims be dismissed without prejudice because they are improperly raised in a habeas


petition and cannot be severed. (See id. at p. 9 n.38). Plaintiffs' deadline to object to


the R&R has passed, without any objection from Plaintiffs.

      Having carefully considered Plaintiffs' Petition and the R&R, the Court
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APPKOVES the R&R and ADOPTS it as the Court's opinion in this matter.

      Accordingly,


      IT IS ORDERED that Plaintiffs' Petition for a Writ of Habeas Corpus Under

28 U.S.C. § 2241 (Doc. 1) be and is hereby DISMISSED WITHOUT PREJUDICE

for lack of subject matter jurisdiction.

      IT IS FURTHER ORDERED that Plaintiffs' constitutional claims be and are

hereby DISMISSED WITHOUT PREJUDICE because they were improperly raised

in a habeas petition and cannot be severed.


      Judgment shall issue separately.


                                 Baton Rouge, Louisiana, this /day of June, 2023




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                                           JUDGE BRIAN A/JACKSON
                                           UNITED STATEi^ISTRICT COURT
                                           MIDDLE DISTRICT OF LOUISIANA
